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03/16/2018 01:11 AM CDT




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                                  Nebraska Supreme Court A dvance Sheets
                                          299 Nebraska R eports
                                                STATE v. BRIDGEFORD
                                                  Cite as 299 Neb. 22



                                        State of Nebraska, appellee, v.
                                        Gerard Bridgeford, appellant.
                                        State of Nebraska, appellee, v.
                                         Judith Bridgeford, appellant.
                                                     ___ N.W.2d ___

                                  Filed February 16, 2018.     Nos. S-16-1032, S-16-1035.

                                               supplemental opinion

                  Appeals from the District Court for Saunders County: M ary
               C. Gilbride, Judge. Former opinion modified. Motion for
               rehearing overruled.
                     Jennifer D. Joakim for appellant Gerard Bridgeford.
                 Mark A. Steele, of Steele Law Office, for appellant Judith
               Bridgeford.
                 Douglas J. Peterson, Attorney General, and Siobhan E.
               Duffy for appellee.
                  Heavican, C.J., Wright, Miller‑Lerman, Cassel, Stacy,
               K elch, and Funke, JJ.
                 Per Curiam.
                 Cases Nos. S‑16‑1032 and S‑16‑1035 are before this court
               on the appellee’s consolidated motion for rehearing concerning
               our opinion in State v. Bridgeford.1 We overrule the motion,
               but we modify the original opinion as follows:

                1	
                     State v. Bridgeford, 298 Neb. 156, 903 N.W.2d 22 (2017).
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                Nebraska Supreme Court A dvance Sheets
                        299 Nebraska R eports
                             STATE v. BRIDGEFORD
                               Cite as 299 Neb. 22
   (1) We withdraw syllabus point 72 and the second to the
last sentence in the seventh paragraph under the subheading
“Statutory Right”3 and substitute the following wording in
both instances:
      The excludable period attributable to an indefinite con-
      tinuance of trial granted by the trial court upon the
      defend­ant’s motion runs from the day of the motion until
      either the defendant’s notice of a request for trial or the
      date set for trial by the court’s own motion.4
   (2) We withdraw the entirety of the 10th paragraph
under the subheading “Statutory Right”5 and substitute the
following:
         Judith extended her December 3, 2014, speedy trial
      date when, on August 18, she filed a motion for an
      indefinite continuance of her trial. The period of delay
      attributable to Judith’s motion did not end until the new
      trial date of June 25, 2015, since, despite intervening
      motions, that was the first trial date set after the August
      18, 2014, motion. The new trial date of June 25, 2015,
      exceeded the 6‑month period calculated at the time of
      her motion to continue, which expired on December
      3, 2014.
   (3) We withdraw the entirety of the 11th paragraph
under the subheading “Statutory Right”6 and substitute the
following:
         Judith’s indefinite continuance resulted in a trial date
      that exceeded the 6‑month period as calculated with the

 2	
      Id. at 157, 903 N.W.2d at 24.
 3	
      Id. at 163, 903 N.W.2d at 27.
 4	
      See, Neb. Rev. Stat. § 29-1207(4)(a) and (b) (Reissue 2016); State v.
      Wells, 277 Neb. 476, 763 N.W.2d 380 (2009); State v. Williams, 277 Neb.
      133, 761 N.W.2d 514 (2009) (Wright, J., concurring; Heavican, C.J., and
      Connolly, J., join); State v. Schmader, 13 Neb. App. 321, 691 N.W.2d 559      (2005).
 5	
      State v. Bridgeford, supra note 1, 298 Neb. at 164, 903 N.W.2d at 28.
 6	
      Id.
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          Nebraska Supreme Court A dvance Sheets
                  299 Nebraska R eports
                    STATE v. BRIDGEFORD
                      Cite as 299 Neb. 22
  excludable periods up to the date of the motion. Judith
  permanently waived her statutory speedy trial right by
  virtue of the August 18, 2014, motion to continue.
The remainder of the opinion shall remain unmodified.
	Former opinion modified.
	Motion for rehearing overruled.
Wright, J., not participating in the supplemental opinion.
